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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
ASSOCIATION OF AMERICAN             )
MEDICAL COLLEGES, et al.,           )
                                    )
            Plaintiffs,             )
                                    )
                                    )    Civil Action No. 25-CV-10340-AK
v.                                  )
                                    )
NATIONAL INSTITUTES OF              )
HEALTH, et al.,                     )
                                    )
            Defendants.             )
                                    )

                                 ORDER TO SHOW CAUSE

ANGEL KELLEY, D.J.

       On Friday, February 7, 2025, the Office of the Director for the National Institutes of

Health (“NIH”) issued Notice Number NOTOD- 25-068, Supplemental Guidance to the 2024

NIH Grants Policy Statement: Indirect Cost Rates (the “Rate Change Notice”). The Rate Change

Notice standardizes indirect cost rates—funds that cover essential research infrastructure and

support services—at 15 percent across all institutions. This allegedly marks a departure from the

current process whereby rates are individually negotiated with institutions. This 15 percent cap

applies to both new and existing NIH grant awards. The Rate Change Notice became effective

on February 10, 2025—just one business day after it was issued.

       On February 10, 2025, the attorneys general for 22 states (“Plaintiff States”) challenged

the Rate Change Notice and filed suit against the NIH, the NIH’s Acting Director, the U.S.

Department of Health and Human Services (“HHS”), and the Acting Secretary of the HHS

(together, the “Defendants”) to bar the Rate Change Notice’s implementation. [See Dkt. 1],




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Commonwealth of Massachusetts, et al v. National Institutes of Health, et al, No. 25-CV-10338

(D. Mass. Feb. 10, 2025). The Plaintiff States allege, among other things, that: the Rate Change

Notice violates the Administrative Procedure Act (APA); NIH’s action would result in layoffs,

research disruptions and laboratory closures; and the Rate Change Notice violates a

Congressional directive barring the NIH from making rate changes without proper authorization.

The Plaintiff States further allege that the Defendants have exceeded their authority by applying

the Rate Change Notice retroactively to existing federal grants, and by adopting the policy

without following mandatory rulemaking procedures. [See id.]. The Plaintiff States represented

that the effects of the Rate Change Notice will be immediate and devastating because “grant

recipients across the country have already budgeted for (and incurred obligations based on) the

specific indirect cost rates that had been negotiated and formalized with the federal government

through the designated statutory and regulatory legal process.” The Plaintiff States also filed an

Ex Parte Emergency Motion for Temporary Restraining Order (“TRO”) seeking to enjoin the

Defendants from implementing the Rate Change Notice for institutions within the Plaintiff

States. Commonwealth; [Dkt. 4].

       The Plaintiff States’ case was randomly assigned to the undersigned through this

District’s general case-assignment procedure the same day. Commonwealth; [Dkt. 7]. This

Court issued a TRO on the same day, preventing the Defendants from implementing the Rate

Change Notice in the Plaintiff States pending a hearing on February 21, 2025. Commonwealth;

[Dkt. 25 (the “Court’s First Order”)]. This Court also ordered the Defendants to submit bi-

weekly compliance reports. [Id.]. The Defendants have until Friday, February 14, 2025, to file

an opposition to the Plaintiff States’ motion.




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       Later that same day, the plaintiffs in the instant action (“Plaintiff Medical

Organizations”) filed the above-captioned lawsuit against the same group of defendants

challenging the same Rate Change Notice. [See Dkt. 1]; Association of American Medical

Colleges et al v. National Institutes of Health et al, No. 25-cv-10340 (D. Mass. Feb. 10, 2025)

(hereinafter “AAMC”). Plaintiff Medical Organizations argue that the Rate Change Notice is

contrary to existing regulations, exceeds the statutory authority vested in the NIH and HHS, is

arbitrary and capricious, was adopted in violation of the Due Process Clause of the U.S.

Constitution, and violates both the statutory and constitutional prohibitions on retroactivity. See

AAMC; [Dkt. 1]. On the Civil Cover Sheet accompanying their Complaint, the Plaintiff Medical

Organizations marked their lawsuit as “related” to the Commonwealth case. AAMC; [Dkt. 1-1].

By way of explanation, the Plaintiff Medical Organizations noted that there was a prior action

between the same parties based on the same claims. AAMC; [Dkt. 1-2]. As a result, the Clerk’s

Office assigned the above-captioned matter directly to the undersigned. AAMC’ [Dkt. 6].

       Plaintiff Medical Organizations also filed an Emergency Motion for a TRO seeking to

extend the Court’s First Order to prohibit enforcement of the Rate Change Notice with respect to

institutions nationwide. AAMC; [Dkt. 5]. Due to the time-sensitive nature of the matter and to

avoid irreparable harm, this Court issued a TRO on the same day extending the prohibition

preventing the Defendants from implementing the Rate Change Notice nationwide. AAMC;

[Dkt. 8].

       The Local Rules governing practice in this District, as amended September 8, 2020, and

in effect since then, provide in relevant part:

       [A] civil case shall be deemed related to another civil case only if:
          (A) some or all of the parties are the same; and
          (B) one or more of the following similarities exist: i. the cases involve the same or
               substantially similar issues of fact; ii. the cases arise out of the same occurrence,



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                transaction or property; iii. the cases involve insurance coverage for the same
                property, transaction or occurrence.
                                           *        *      *
        Civil cases, even when they involve some or all of the same parties, shall not be deemed
        related to each other solely on the ground that they:
            (A) involve the same or substantially similar challenges to a law, regulation, or
                government policy or practice;
            (B) otherwise involve a common question of law.

L.R., D. Mass. 40.1(g)(1), (3).

        Plaintiff Medical Organizations’ case appears to share the same Defendants and one or

more common questions of law with the Commonwealth case. Plaintiff Medical Organizations

shall show cause by Thursday, February 13, 2025 at 12:00 PM EST why this case should not

be returned to the Clerk for random assignment for further proceedings. In the absence of a

timely filing from Plaintiff Medical Organizations supporting the designation of relatedness

within the meaning of Local Rule 40.1(g), the undersigned will direct the Clerk to randomly

assign this case. 1 See L.R., D. Mass. 40.1(g)(8).



        SO ORDERED.

Dated: February 11, 2025                                              /s/ Angel Kelley
                                                                      Hon. Angel Kelley
                                                                      United States District Judge




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  Such reassignment would result in the random assignment of this case to any one of my colleagues or myself,
rather than direct assignment by virtue of relatedness.


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